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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
JRS/GK/DAS                                           271 Cadman Plaza East
F. #2021R00900                                       Brooklyn, New York 11201



                                                     July 1, 2024

By ECF

The Honorable Eric R. Komitee
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Carlos Watson and Ozy Media, Inc.
                       Criminal Docket No. 23-82 (EK)

Dear Judge Komitee:

               The government respectfully submits this letter, as per the Court’s instruction, to
supplement its request that the Court preclude the testimony of Beverly Watson. The defense
productions as to Ms. Watson have brazenly violated both the Court’s order to compel and the
mutually-agreed upon — and so-ordered — deadline for disclosures under Federal Rule of
Criminal Procedure 26.2. For those reasons and the others discussed below, preclusion of
Ms. Watson’s testimony is warranted.1

       I.      Background

               A.      The Grand Jury Subpoenas to Watson and Ozy

              The government first served Carlos Watson and Ozy Media with grand jury
subpoenas on or about October 11, 2021, each with a return date of October 21, 2021
(subsequently extended to October 29, 2021).2 As relevant here, the subpoena issued to Watson

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                 Significant portions of this letter have been pulled from the government’s prior
filing on this topic, see ECF No. 214. The government includes those portions here for the
Court’s convenience and to ensure that argument on this matter is contained in one submission.
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               On or about July 1, 2022, and July 11, 2022, respectively, the government served
Watson and Ozy with new subpoenas that were substantively identical to those served on them in
October 2021. The only changes in these revised subpoenas were making explicit that:
(1) Watson was being served as a corporate custodian for Ozy, rather than in his personal
capacity; and (2) the subpoenas were not seeking any records of “newsgathering activities,” as
that term was used in 28 C.F.R. § 50.10. On March 6, 2023, the government re-issued the
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requested, among other things, “Any and all written, email or text, text messages, encrypted text
messages . . . or other instant messaging service . . . correspondence with any officer, principal,
owner, employee or consultant/third party representative of OZY Media,” as well as “Any and
all written, email or text, text messages, encrypted text messages . . . or other instant messaging
service . . . correspondence with . . . any investors or potential investors in OZY Media.” The
subpoena issued to Ozy requested, among other things, “Documents to identify current and past
investors in OZY Media, Inc. . . . and size and dates of such investments,” and “All presentations
to current and prospective investors, including investor solicitation materials and
communications with potential investors, including drafts of presentations.”

               B.     The Order to Compel

              On July 28, 2023, the Court issued an order to compel directing that Watson and
Ozy must comply with the previously issued grand jury subpoenas in their entirety within
45 days from the date of the Order. See ECF No. 81.

               C.     The Court-Ordered Deadline for Individually Pre-Marked Exhibits

               Consistent with Rule V(E)(1) of the Court’s Individual Rules and Practices, the
government requested in its motions in limine a mutual exhibit disclosure deadline of May 10,
2024. See ECF No. 119 at 66-69. The defendants did not object to this deadline in their
opposition, writing only, “The parties shall propose relevant disclosure dates.” ECF No. 123 at
16. At the April 26, 2024 status conference, the government requested a decision on the
deadlines of “when exhibits are due from both sides.” Apr. 26, 2024 Tr. 93:10-11. The Court
responded by asking about its Individual Rules, to which the government responded that they
“say 10 days before trial, so we keyed it to May 10th, . . . for both sides.” Id. at 9:12-15. The
Court ruled simply: “Okay. There you have it.” Id. at 93:16.

                On May 10, 2024, the government provided to the defense approximately 1,400
exhibits that the government at that time believed it might use during its case-in-chief at trial.
See ECF No. 143. The defendants produced nothing to the government on May 10, 2024 and did
not provide any pre-marked exhibits until May 29, 2021, the first day of trial. Since that time,
continuing through June 30, 2024, the defense has regularly provided new exhibits, most of
which bear Bates numbers indicating that they had not previously been produced in discovery.

               D.     The Agreed-Upon Deadline for Rule 26.2 Disclosures

                On April 11, 2024, the government informed the Court that “the parties ha[d]
conferred and agreed upon the mutual, simultaneous exchange of now-existing” witness
statements on April 12, 2024, and had “further agreed to produce any future [witness statements]
on a rolling basis.” ECF No. 125. The parties jointly requested that the Court “so-order” the



Watson subpoena with an updated return date of April 5, 2023; it otherwise identical to the prior
Watson subpoenas and was re-issued to provide newly retained counsel with more time to
respond and to extend the date range for documents sought.



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April 12, 2024 deadline (see id.), which the Court did on April 12, 2024 (see ECF Order dated
Apr. 12, 2024).

               On April 12, 2024, the government disclosed over 1,200 separately marked
witness statements for 60 potential witnesses, along with an index describing each document and
providing an approximate date. That same day, the defendants disclosed materials for proposed
experts David Robinson and Barry Pincus, but did not disclose any materials for any fact
witnesses, including Ms. Watson.

               E.     The Defendants’ Failure to Disclose Ms. Watson’s Materials

               On May 29, 2024, the defense disclosed a witness list of 40 individuals, which the
defense subsequently narrowed to 30 individuals on May 31, 2024, and then expanded to 35
individuals on June 9, 2024. See ECF Nos. 177, 182. Ms. Watson was on each of these lists.
See id. No witness statements were provided for any of the witnesses except Dr. Robinson.

               On June 9, 2024, the government moved to preclude from testifying any witness
for whom witness statements had not been produced. See ECF No. 184. In that motion, the
government specifically identified Ms. Watson, among others, as a witnesses for whom no
materials had been produced but for whom materials plainly existed. See id. at 2. The following
day, on June 10, 2024, the government reiterated its motion in court. See Tr. 1405:25-1409:5.
The Court declined to rule on the motion at that time but admonished defense counsel, “Don’t
assume the Government already has this stuff. Figure out what exists, confirm, or deny that the
Government has it, comply with your undertakings, or risk the consequences.” Tr. 1409:1-4.
Defense counsel responded, “Understood.” Tr. 1409:5.

                On June 14, 2024, the government informed the Court that it had still not received
witness statements for any defense witnesses except Dr. Robinson and renewed its motion to
preclude additional witnesses from testifying. See Tr. 1963:5-13, 1965:23-1966:9. The Court
stated, “That request is taken under advisement. And obviously, the extent to which the defense
complies with court orders, complies with its own agreements, and complies with federal statutes
and rules, like, that will all go into the analysis when we make it, and you know, it’s up to them
whether they want to adjust their behavior accordingly.” Tr. 1966:4-9.

                On the morning of June 26, 2024, the day the government had previously
indicated it intended to rest, the defense disclosed approximately 25 witness statements for
Ms. Watson, all of which were from prior to the April 12, 2024 disclosure deadline. None of
those documents appear to have been produced by either defendant in response to the subpoenas
or the Court’s order to compel,3 nor have any been included in the defendants’ running list of
defense exhibits, the first set of which was provided on May 26, 2024 (in unmarked form) and
which have been continually updated through June 30, 2024. Between June 26, 2024 and July 1,
2024, the defense also provided several thousand witness statements for other potential
witnesses, most of which had never been produced before.

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              Each of the documents bore Bates numbers that were not covered in any range
previously produced by either defendant in response to the subpoenas or order to compel.



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               The vast majority of the 25 documents in the defense’s Rule 26.2 disclosures are
from the week following Watson’s arrest, and they concern mostly administrative and
organizational matters that Ms. Watson was apparently handling for Ozy and her brother. There
are two documents from 2019: one is an email exchange between Ms. Watson and another
individual about a job offer that other individual received (not at Ozy), and the second is her
acceptance of an invitation regarding one of Watson’s fundraising trips to the Middle East. The
other three documents are a June 14, 2022 letter Ms. Watson wrote about why she decided to
work at Ozy; a June 26, 2023 LinkedIn post in which she publicizes Watson’s selective
prosecution arguments that have since been rejected by the Court; and what appears to be a text
thread, with numerous unexplained and likely improper redactions, between Ms. Watson and
Ms. Rudy that terminates on February 26, 2024 (despite the government’s understanding that
there were more recent communications between them).

               On July 1, 2024, the defense indicated that it intended to produce additional
Rule 26.2 material as to Ms. Watson. As of the time of filing (occurring at approximately
10:15 p.m.), the government has not received any additional materials.

       II.     Legal Standard

                 “The adversary process could not function effectively without adherence to rules
of procedure that govern the orderly presentation of facts and arguments to provide each party
with a fair opportunity to assemble and submit evidence to contradict or explain the opponent’s
case.” Taylor v. Illinois, 484 U.S. 400, 410-11 (1988). The “interest in the orderly conduct of a
criminal trial is sufficient to justify the imposition and enforcement of firm, though not always
inflexible, rules relating to the identification and presentation of evidence.” Id. at 411. In
particular, federal courts have “inherent power” to require both the government and the defense
to disclose recorded statements of their respective witnesses so that the opposing party “may get
the full benefit of cross-examination and the truth-finding process may be enhanced.” United
States v. Nobles, 422 U.S. 225, 231-32, 241 (1975).4

                If a defendant violates a court’s discovery order relating to a defense witness, the
court may, in its discretion, preclude the witness from testifying. See id. at 241. Specifically,
where “a discovery violation amount[s] to ‘willful misconduct’ and was designed to obtain ‘a
tactical advantage,’” preclusion will be appropriate “‘regardless of whether prejudice to the
prosecution could have been avoided’ by a lesser penalty.” Michigan v. Lucas, 500 U.S. 145,
153 (1991) (quoting Taylor, 484 U.S. at 417). Indeed, where a violation is “both willful and
blatant,” more “is at stake than possible prejudice to the prosecution” — such conduct threatens
“the integrity of the judicial process itself.” Taylor, 484 U.S. at 416-17.




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               In the case of government witnesses, whose safety may be imperiled by too early
disclosure, courts’ discretion as to the timing of disclosure is circumscribed by 18 U.S.C.
§ 3500(a). See Nobles, 422 U.S. at 231 n.5. That statutory limitation does not apply to defense
witnesses.



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       III.    Discussion

               A.      Ms. Watson’s Testimony Should Be Precluded Based on the Repeated
                       Violations of Court-Ordered Disclosure Deadlines

                As the Court itself observed, “it is hard . . . to understand that [the defense’s
conduct regarding witness statements] is anything but a tactical choice and a purposeful violation
of the defense’s agreement.” Tr. 2642. Further, as the Court is well aware, the violation of the
order to disclose witness statements comes as part of a long pattern of the defense violating
nearly every disclosure deadline set by the Court throughout this case. In light of the full picture
of the defense’s conduct and the repeated reminders by the government and the Court regarding
the defendants’ disclosure obligations, the record of willful misconduct committed to obtain a
tactical advantage could not be more clear.5

                 Under those facts, the government respectfully submits that the only appropriate
course is preclusion of defense witnesses not yet on the witness stand for whom witness
statements were provided late — and to date, continue to be incomplete — including
Ms. Watson. It is unfortunate that the defense has created a situation where the Court must
weigh such a sanction. But if that sanction is not imposed under these facts, then in future cases,
no party could ever feel confident than an agreement or an order for early disclosure would be
followed or enforced, and the incentive to enter into such agreements or to comply with such
orders would be severely reduced. That outcome would undermine the near-universal practice in
this District of early disclosure of witness statements, to the great detriment of future trials. The
Court should not sacrifice that critical practice to save the defense from their own willful
failings.

                Although the Court need not consider prejudice to the government in this
decision, the prejudice to the government is plain. The government has had to operate in the
dark after being presented with a list of more than thirty potential defense witnesses without any
information regarding the nature of their anticipated testimony or its relevance to the case. The
delayed disclosures have precluded the government from relevant legal challenges to the
testimony in advance or from developing testimony in its own case to address the defense
witnesses’ anticipated testimony. Further, rather than having weeks to review materials and
consider appropriate cross-examination — as the defendants had — the government has been
forced to scramble to review the materials and prepare cross-examinations on a short timeline, all
at the expense of time government had previously planned to use to prepare the cross-
examination of the defendant and closing arguments. The delayed disclosures also make it
virtually impossible for the government to determine if the disclosures are complete. Where
deficiencies are identified, the government must waste its time (and the Court’s and the jury’s


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                In court today, the defense claimed that its failures were the result of issues with
Ozy’s insurer. Notably, while there had been a stay on insurance payments to Watson, that stay
expired on February 16, 2024, and there has been no substantive activity in the insurance
litigation since that date. See Clear Blue Specialty Ins. Co. v. Ozy Media, Inc., No. 21-CV-8764
(EJD) (N.D. Cal.).



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time) raising the issue to the Court and examining witnesses to help crystalize what those
deficiencies are.

                 For Ms. Watson in particular, the deficiencies appear vast, further undermining
the government’s ability to prepare a cross-examination and further wasting time with needless
litigation that could have been avoided or addressed weeks ago if the defendants had simply
complied with their agreed-upon discovery deadlines. The 25 documents described above are
the extent of the defendants’ Rule 26.2 production for Ms. Watson. There are no text messages
in the disclosures between Ms. Watson and her brother or any other member of the defense team
or defense witness, nor are there any emails about substantive topics — even though Ms. Watson
worked at Ozy for almost a year from 2022 to 2023 and likely sent thousands of emails in that
period. In addition, Ms. Watson appears multiple times in the documentary that was produced
and then disseminated — both online and at in-person screenings — in support of Watson’s
defense. The defense has not disclosed the complete, unedited portions of Ms. Watson’s
interview(s), which should also be produced pursuant to Rule 26.2. Also not included are any
agreements or documentation concerning Ms. Watson’s investments in or loans to Ozy, the most
recent of which the government believes occurred in 2022. And the defense has also failed to
produce the notes that Ms. Watson has been observed taking while she attended nearly every day
of trial in this matter.

               B.     Ms. Watson’s Testimony Should Be Precluded Under Rules 401 and 403

               Today, the defense proffered three potential topics for Ms. Watson’s testimony:
(1) the formation of Ozy; (2) her employment at Ozy; and (3) her role as an investor in Ozy.
Separate and apart from the repeated and flagrant disclosure violations described above, based on
this proffer, Ms. Watson’s testimony should be precluded as irrelevant, cumulative and
misleading under Rules 401 and 403.

                First, any testimony about the formation of Ozy would be irrelevant and
cumulative. Testimony about the founding of the company is marginally relevant at best, and
Watson has already testified at length about that topic (as did Samir Rao) — and those facts are
not in dispute. Any additional testimony on such matters should be precluded.

               Second, any testimony about Ms. Watson’s employment at Ozy is irrelevant, as
well as runs the risk of misleading the jury and confusing the issues, because Ms. Watson did not
begin working at the company until after the charged conduct. Ms. Watson should therefore be
precluded from testifying about her employment at Ozy.

                Third, Ms. Watson should not be permitted to testify about her role as an investor
in and lender to Ozy, including what was material to her investment. While the government’s
victim-investor witnesses were clearly well “within the parameters of the thinking of reasonable
investors in the particular market at issue,” Ms. Watson is an “indisputably idiosyncratic”
investor based on her being Watson’s sister. United States v. Litvak, 889 F.3d 56, 65, 69 (2d
Cir. 2018) (district court abused discretion by permitting testimony from “indisputably
idiosyncratic” about his view of materiality). Her testimony about materiality should therefore
be precluded as well.




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       III.    Conclusion

              For the reasons set forth herein, the government respectfully submits that the
Court should preclude all further defense witnesses other than the defendant, including the
testimony of Beverly Watson.

                                                    Respectfully submitted,

                                                    BREON PEACE
                                                    United States Attorney

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cc:    Clerk of the Court (EK) (by ECF)
       Counsel of Record (by ECF and email)




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